            Case 1:20-mj-11860-UA Document 3 Filed 11/04/20 Page 1 of 2



                                                                                                              April 2, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                  WAIVER OF RIGHT TO BE PRESENT AT
                              -v-                                                 CRIMINAL PROCEEDING

                                                                                     -CR-     ( )( )
                                        Defendant.
----------------    --------------------------X                                  20mj11860
Check Proceeding that Applies

            Arraignment

            I have been given a copy of the indictment containing the charges against me and have reviewed it with my
            attorney. I understand that I have a right to appear before a judge in a courtroom in the Southern District
            of New York to confirm that I have received and reviewed the indictment; to have the indictment read aloud
            to me if I wish; and to enter a plea of either guilty or not guilty before the judge . After consultation with
            my attorney, I wish to plead not guilty . By signing this document, I wish to advise the court of the following.
            I willingly give up my right to appear in a courtroom in the Southern District of New York to advise the court
            that:

                     1)       I have received and reviewed a copy of the indictment.
                     2)       I do not need the judge to read the indictment aloud to me.
                     3)       I plead not guilty to the charges against me in the indictment.



Date:
                     Signature of Defendant




        /            PrintName

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            I am applying or in the future may apply for release from detention, or if not detained, for modification of
            the conditions of my release from custody, that is, my bail conditions. I understand that I have a right to
            appear before a judge in a courtroom in the Southern District of New York at the time that my attorney
            makes such an application. I have discussed these rights with my attorney and wish to give up these rights
            for the period of time in which access to the courthouse has been restricted on account of the COVID-19
            pandemic. I request that my attorney be permitted to make applications for my release from custody or
            for modification of the conditions of my release even though I will not be present, and to make such
            applications in writing or by telephone in my attorney's discretion.



Date:                  Isl Giovanni De La Mora
                     Signature of Defendant



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                     Print Name
                     Case 1:20-mj-11860-UA Document 3 Filed 11/04/20 Page 2 of 2




                    Conference

                    I have been charged in an indictment with violations of federal law. I understand that I have a right to be
                    present at all conferences concerning this indictment that are held by a judge in the Southern District of
                    New York, unless the conference involves only a question of law. I understand that at these conferences
                    the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
                    be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
                    excluded.in setting the time by which the trial must occur. I have discussed these issues with my attorney
                    and wish to give up my right to be present at the conferences. By signing this document; I wish to advise
                    the court that I willingly give up my right to be present at the conferences in my case for the period of time
                    in which access to the courthouse.has been restricted on account of the COVID-19 pandemic. I request that
                    my attorney be permitted to represent my interests at the proceedings even though I will not be present.




           Date:
                             Signature of Defendant




                             Print Name


           I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
           my client's rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
           form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client's absence.
           I will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of

           :,::coceedings, i f , ~


                             Si~:~~
                             Print Name            ~


           Addend.um for a defendant who requires services of an interpreter:

_"\ \ t\. I used the services of an interpreter to discuss these· issues with the defendant. The interpreter also translated this
~     ) "\ document, in its entirety, to the defendant before the defendant signed it.              The interpreter's name is:




           Date:




           Accepted:
                             Signature of Judge
                             Date:    11/4/2020
                                                                     2
